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                                                              September 11, 2024
BY ECF
Hon. Jessica G. L. Clarke
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re: Rapaport v. Iyer et al., Case No. 23-cv-06709-JGLC

Your Honor:

        I write in response to the Court’s order of yesterday regarding my request to withdraw as
plaintiff’s counsel, and to state that I am not asserting either a retaining lien or a charging lien.

        I am sending a copy of this letter to Mr. Rapaport to the email and mailing addresses which
he set out in his letter to the Court yesterday (#62).

       I appreciate the Court’s attention.

                                                      Respectfully,




                                                      Richard A. Altman
